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               IN THE UNITED STATES DISTRICT ~oURi·;                                        2'
                    FOR THE DISTRICT OF MONTANA

                          GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,

                          Plaintiff,                No. CR 10-02-GF -SEH

 VS.                                                ACCEPTANCE OF PLEA OF
                                                    GUILTY, ADJUDICATION OF
 CONNIE JEAN SMITH,                                 GUILT AND NOTICE OF
                                                    SENTENCING
                          Defendant.

       In accordance with the Findings and Recommendations of the United States

Magistrate Judge Keith Strong, to which there has been no objection, and subject

to this Court's consideration of the Plea Agreement under Fed. R. Crim. P.

11(c)(3), the plea of guilty of the Defendant to Count VI and VIII of the

Indictment is hereby accepted. The Defendant is adjudged guilty of such offense.

All parties shall appear before this Cou~or sentencing as directed.
                                       S          ~tO
       IT IS SO ORDERED this       ;---day o f , 2010.




                                           nited States District Judge

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